                         Case MDL No. 2915 Document 4 Filed 08/01/19 Page 1 of 1
 UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                  2915                                          Capital One Consumer Data Security Breach Litigation
 MDL No. _____________                        & T ITLE - IN RE: __________________________________


                                                     NOTICE OF APPEARANCE
                          Appearances should only be entered in compliance with Rule 4.1(c).

 PARTIES REPRESENTED (indicate plaintiff or defendant--attach list if more than one
 action):

Rachel McDonough



 SHORT CASE CAPTION(s) (Include District(s), Civil Action No(s).-- attach list if more
 than one action):

McDonough v. Capital One Financial Corporation, et. al, Case. No. 1:19-cv-00984-LO-TCB (E.D. Va.)


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         In compliance with Rule 4.1(c), the following designated attorney is authorized to file and
 receive service of all pleadings, notices, orders, and other papers relating to practice before the
 Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
 aware that only one attorney can be designated for each party.
                 7/31/2019                                                       /s/ W. Lewis Garrison, Jr.

                                  Date                                                               Signature of Attorney or Designee

 Name and Address of Designated Attorney:

 W. Lewis Garrison, Jr., Heninger Garrison Davis, LLC, 2224 1st Avenue North, Birmingham, Alabama 35203


 Telephone No.:                 (205) 326-3336                                                         Fax No.: (205) 326-3332
                lewis@hgdlawfirm.com
 Email Address: __________________________


 Instructions:

 1. From the JPM L hom e page, download N otice of Appearance. Fill out form and save in .pdf format. (All docum ents filed with the Judicial Panel m ust be in PD F Format.)
 T he Appearance Form is to be filed as the m ain PD F docum ent. Any docum ents subm itted with the Appearance Form are attachm ents.
 2. Select M D L from the m enu bar at the top of the E CF screen.
 3. Click on N otices. Select the appropriate N otice of Appearance. Select N ext.
 4. Enter the three or four digit M D L num ber (ex. 875). Select N ext.
 5. V erify M D L num ber, if correct Select N ext.
 6. Choose the case(s) for which the Appearance is being filed. Select N ext.
 7. Select Party. Select next twice.
 8. U pload the Appearance Form as the M ain docum ent and all other docum ents as attachm ents. Be sure to choose a category and description. Select the docum ent to which
 the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial M otion for T ransfer and Appearances filed in transferred litigations should be
 linked to the Conditional T ransfer Order (CT O).
 9. Select the next button and verify docket text. If correct continue to select next to com plete the transaction.




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